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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
      v.                                      :   CASE NO. 21-cr-00268 (CJN)
                                              :
JEFFREY McKELLOP                              :
                                              :
      Defendant.                              :



     GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO COMPEL
          DISCOVERY RELATED TO HOUSE SELECT COMMITTEE


       The United States respectfully submits this Opposition to defendant Jeffrey McKellop’s

Motion to Compel Discovery (“Motion”) of all communications between the Department of

Justice and the House Select Committee to Investigate the January 6th Attack on the United States

Capitol (“Select Committee”). In his Motion, McKellop seeks to “supplement his pending venue

motion” and requests discovery on “possible collusion” between the Select Committee and the

Department of Justice. McKellop’s Motion should be denied.

       I.       The Select Committee Hearings Provide No Basis to Transfer Venue.

       In seeking to “supplement” his venue transfer motion, McKellop claims (Mot. 1-4) that the

Select Committee hearings have “poisoned the jury pool.” In contending that the Select

Committee’s nationally televised hearings support a change of venue, McKellop points out that

approximately 20 million people watched the televised coverage of the first hearing on June 9,

2022. Id. at 2. But this exposure was not limited to the District of Columbia. Instead, the hearings

were carried on national networks across the country. In similar circumstances, the D.C. Circuit

affirmed the denial of a change of venue where the defendants—who were high-ranking members
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of the Nixon administration—complained that they were prejudiced by news coverage of the

Watergate-related hearings. United States v. Haldeman, 559 F.2d 31, 62-64 & nn. 35, 43 (D.C.

Cir. 1976) (en banc) (per curiam). The court of appeals observed that “a change of venue would

have been of only doubtful value” where the “network news programs and legislative hearings”

related to Watergate were “national in their reach.” Id. at n.43.

       Moreover, the 20 million viewers of the June 9, 2022 hearing represent only about 6% of

the total U.S. population. McKellop has not pointed to any evidence that D.C. residents were more

likely to have watched that hearing than citizens in other parts of the country. And even if D.C.

residents tuned in at a higher rate, it is still likely that a majority of D.C. residents did not watch

the hearings. Moreover, those hearings have focused on the events of January 6 as a whole, not

on McKellop’s actions. There is no reason to believe that coverage of the hearings will create in

the District of Columbia such a degree of bias against McKellop that an impartial jury cannot be

selected.

       Additionally, a careful voir dire—rather than a change of venue—is the appropriate way

to address potential prejudice from the Select Committee hearings. “[V]oir dire has long been

recognized as an effective method of routing out [publicity-based] bias, especially when conducted

in a careful and thoroughgoing manner.” In re Nat’l Broadcasting Co., 653 F.2d 609, 617 (D.C.

Cir. 1981). After a careful voir dire, this Court can select a jury from those residents who either

did not watch the hearings or who, despite having watched the hearings, give adequate assurances

of their impartiality. See Haldeman, 559 F.3d at 62 n.35 (rejecting claim of prejudice even though

“several jurors” had “seen portions of the televised Senate hearings” related to Watergate). The

voir dire process can thus assure that no one who shares McKellop’s view that the Select


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Committee hearings offer “emotionally charged and prejudicial descriptions” (Mot. 2) in a manner

that prevents that person from fairly and impartially considering the evidence is seated on the jury.

       II.     Defendant Provides No Legal or Factual Basis for His Discovery Request.

       McKellop next contends (Mot. 4) that the Select Committee has “colluded with the

Executive Branch,” and that such collusion supports his request for additional discovery. That

contention is both factually and legally flawed.

       As a preliminary matter, McKellop’s request for an order compelling the production of

discovery should be denied as premature. Per Local Criminal Rule 16.1, “[n]o discovery motion

shall be heard unless it states that defense counsel has previously requested that the information

sought from the attorney for the United States and that such attorney has not complied with the

request.” In this case, McKellop never requested the information sought from the government.

       Had McKellop made such request, however, he would have learned that as a factual matter,

his speculation that the Select Committee coordinates—or, in his words, “colludes”—with the

Executive Branch is inaccurate. For one thing, the House of Representatives created the Select

Committee to investigate the “facts, circumstances, and causes” related to the Capitol siege on

January 6, 2021, and to make recommendations aimed to prevent any similarly violent acts in the

future. See H.R. Res. 503, 117th Con. §3-4 (2021); see Trump v. Thompson, 20 F.4th 10, 16 (D.C.

Cir. 2021). As such, the legislatively created Select Committee is distinct from the Executive

Branch, including the Department of Justice. See, e.g., Trump, 20 F.4th at 16 (litigation involving

Select Committee request from Archivist of the United States). Moreover, as the Chief Judge

recently noted, the Department of Justice has sought access to certain of the Select Committee’s

investigative materials, which would be unnecessary if the two entities were operating jointly. See


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United States v. Williams, 21-cr-377, ECF No. 108 (D.D.C. June 23, 2022); see also United States

v. Nordean, 21-cr- 2022 WL 2292062, at *2 (June 24, 2022) (noting that the Department of Justice

was uncertain about the timing of the release of Select Committee interview transcripts). In short,

McKellop fails to establish any “impermissible government collaboration” (Mot. 5) with the Select

Committee.

       McKellop also fails to establish any legal ground that would entitle him to the discovery

he appears to request. The Federal Rules of Criminal Procedure provide that upon a defendant’s

request, the government must permit the defendant to “inspect and to copy or photograph”

documents or objects, including buildings or places, that are within the government’s possession,

custody or control. Fed. R. Crim. P. 16(a)(1)(E). Rule 16 establishes “the minimum amount of

discovery to which the parties are entitled. It is not intended to limit the judge’s discretion to order

broader discovery in appropriate cases.” United States v. Karake, 281 F.Supp.2d 302, 306 (D.D.C.

2003) (quoting Fed. R. Crim. P 16 advisory committee's note to the 1974 amendments). Rule 16

does not, however, bestow on the defendant a right to unrestricted access to all documents and

objects within the government’s possession, custody, or control. See United States v. Maranzino,

860 F.2d 981, 985–86 (10th Cir. 1988) (“Rule 16 does not authorize a blanket request to see the

prosecution’s file”). Rather, it applies to those documents and objects that (1) are “material to

preparing the defense;” (2) the government intends to use in its case-in-chief at trial; or (3) were

obtained from or belong to the defendant. Fed. R. Crim. P. 16(a)(1)(E).

       Evidence is material under Rule 16 “as long as there is a strong indication that it will play

an important role in uncovering admissible evidence, aiding witness preparation, corroborating

testimony, or assisting impeachment or rebuttal.” United States v. Marshall, 132 F.3d 63, 68 (D.C.


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Cir. 1998) (quoting United States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993)). Material evidence

includes both exculpatory and inculpatory evidence. Id. Nevertheless, to show materiality, the

defense must demonstrate that the evidence bears “some abstract logical relationship to the issues

in the case” and would enable “the defendant significantly to alter the quantum of proof in his

favor.” Lloyd, 992 F.2d at 351 (internal quotation omitted); see also United States v. Slough, 22 F.

Supp. 3d 1, 4-5 (D.D.C. 2014) (observing that the movant bears the burden of demonstrating that

the requested discovery bears “more than some abstract logical relationship to the issues in the

case”).

          Any communications between the Department of Justice and the Select Committee does

not meet this standard. The government would not use the communications in its case-in-chief nor

would they be obtained from or belong to McKellop. As a result, the defense must show that these

communications are “material to preparing the defense.” Fed. R. Crim. P. 16(a)(1)(E). But

McKellop does not advance any arguments that such communications would be material to his

defense. Nor is it remotely evident how such communications could be relevant, let alone material,

to any issue at trial. McKellop makes passing reference (Mot. 1) to footage from Select Committee

hearings that appears to have originated with body-worn cameras or closed-circuit video at the

Capitol, but he does not suggest that he seeks any of that footage—footage which he would already

have received through discovery.

          United States v. Berrios, 510 F.2d 1207 (2d Cir. 1974), on which McKellop relies (Mot.

5), is inapposite. In Berrios, the Second Circuit vacated the district court’s dismissal of the

indictment on the ground that the district court exceeded its authority in requiring the government

to disclose to the defendant an internal memorandum (and then dismissing when the government


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refused to do so). Id. at 1212. Moreover—and as McKellop notes, Mot. 5 n.1—Berrios concerned

a claim of selective prosecution, which McKellop has not advanced here. Nor could he. Because

“[t]he Attorney General and United States Attorneys retain broad discretion to enforce the Nation’s

criminal laws,” a “presumption of regularity supports their prosecutorial decisions and, in the

absence of clear evidence to the contrary, courts presume that they have properly discharged their

duties.” United States v. Armstrong, 517 U.S. 456, 464 (1996) (internal quotation marks and

citations omitted). To overcome that presumption, a defendant must present “clear evidence” that

a decision to prosecute was “based on ‘an unjustifiable standard such as race, religion, or other

arbitrary classification.’” Id. at 464-465. “The claimant must demonstrate that the federal

prosecutorial policy ‘had a discriminatory effect and that it was motivated by a discriminatory

purpose.’” Id. at 465 (quoting Wayte v. United States, 470 U.S. 598, 608 (1985)). Concerned that

selective-prosecution inquiries “will divert prosecutors’ resources and may disclose the

Government’s prosecutorial strategy,” the Supreme Court has also imposed a “correspondingly

rigorous standard for discovery in aid of such a claim.” Id. at 468. The defendant must initially

produce “some evidence tending to show the existence of the essential elements of” selective

prosecution: “discriminatory effect and discriminatory intent.”      Id. (citation omitted).   The

defendant’s evidence must also be “credible”—something more than “personal conclusions based

on anecdotal evidence.” Id. at 470. “If either part of the test is failed,” the defendant cannot

“subject[] the Government to discovery.” Att’y Gen. of United States v. Irish People, Inc., 684

F.2d 928, 947 (D.C. Cir. 1982). McKellop has not adduced enough (indeed, any) evidence of




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selective prosecution. 1 See United States v. Miller, 21-cr-119, ECF No. 67 (D.D.C. Dec. 21, 2021)

(rejecting motion for discovery under a selective prosecution theory).

                                        CONCLUSION

       WHEREFORE, the Government respectfully requests that the Court deny McKellop’s

Motion.

                                             Respectfully submitted,

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1 The defendant previously moved, unsuccessfully, to dismiss this case on the ground of
selective prosecution. Def.’s Motion to Dismiss Indictment for Selective Prosecution, ECF No.
57. That motion was denied orally at a hearing on May 3, 2022.

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